      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MINNESOTA


REGENTS OF THE UNIVERSITY OF
MINNESOTA,

            Plaintiff,
                                                       Civil Action No. ____________
v.

GILEAD SCIENCES, INC.,

            Defendant.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Regents of the University of Minnesota (“the University” or “Plaintiff”)

makes and files this Complaint for Patent Infringement against Defendant Gilead

Sciences, Inc. (“Gilead” or “Defendant”). In support of this Complaint, the University

alleges as follows:

                                    THE PARTIES

       1.   The University is a leading public institution of higher education and

advanced research created by charter and perpetuated by the Constitution of the State of

Minnesota, Article XIII, Section 3. The University’s main offices are located in

Minneapolis, Minnesota.

       2.   Gilead Sciences, Inc. is a company organized and existing under the laws of

the State of Delaware with its principal place of business at 333 Lakeside Drive, Foster

City, California 94404.
       Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 2 of 12




                              NATURE OF THE ACTION

       3.   Gilead has infringed, and continues to infringe, the University’s intellectual

property rights by, among other things, selling medicines containing the drug sofosbuvir,

including brand name drugs Sovaldi®, Harvoni®, and Epclusa®. Patent rights assigned

to the University by Dr. Carston R. Wagner, Endowed Chair in Medicinal Chemistry in

the University’s College of Pharmacy, cover Gilead’s drugs, and Gilead has reaped tens

of billions of dollars in sales of those drugs, without the University’s authorization and

without compensating the University. The University invests heavily in the important

and groundbreaking work of its professors, and it takes seriously its role in defending

their and the University’s intellectual property rights.

       4.   This is an action for patent infringement under the patent laws of the United

States, Title 35, United States Code.

                              JURISDICTION AND VENUE

       5.   As the University asserts claims for patent infringement against Gilead

arising under the patent laws of the United States, Title 35, of the United States Code,

this Court has jurisdiction over the subject matter of this action under at least 28 U.S.C.

§§ 1331 and 1338.

       6.   Venue in this Court is proper under at least 28 U.S.C. §§ 1391 and 1400.

       7.   This Court has personal jurisdiction over Gilead.

       8.   Gilead has substantial and continuous contacts with this judicial district, in

that Gilead has conducted business continuously and systematically in the State of

Minnesota and this judicial district and continues to conduct that business actively today.




                                             -2-
      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 3 of 12




       9.     For example, within this judicial district, Gilead sells medicines, including

the brand name drugs Sovaldi®, Harvoni®, and Epclusa®, each of which contains

sofosbuvir.

       10. Gilead’s sale of medicines containing sofosbuvir infringe U.S. Patent

Number 8,815,830 (“the ’830 patent”).

                                      BACKGROUND

University of Minnesota

       11. The University has a long history of research, innovation, and discovery;

teaching and learning; and outreach and public service.

       12. One of the University’s missions is to generate and preserve knowledge,

understanding, and creativity by conducting high-quality research, scholarship, and

artistic activity that benefit students, scholars, and communities across Minnesota, the

nation, and the world.

       13. It is also one of the University’s missions to extend, apply, and exchange

knowledge between the University and society by making the knowledge and resources

created and preserved at the University accessible to the citizens of Minnesota, the

nation, and the world.

       14. The University, which includes eighteen different colleges, supports and

facilitates fundamental and applied research in numerous fields.

       15. The University faculty number approximately 4,000 and are members of,

among other bodies, the National Academy of Sciences, the National Academy of

Engineering, the Academy of Medicine, and the American Academy of Arts and

Sciences.



                                             -3-
       Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 4 of 12




       16. Much University research, like the scientific and technical research that led

to the patent-at-issue in this case, requires significant funding, and thus much of the

research performed at the University is financed by various public and private sources.

       17. The knowledge obtained through the University’s research benefits many

people and organizations around the world, including educators, researchers, employers,

employees, and consumers. To maximize those benefits, the University sometimes

patents and/or commercializes inventions made by researchers at the University, and then

returns a portion of the proceeds of those activities to fund further education and research

at the University.

       18. Over the past 15 years, the United States Patent and Trademark Office

(“USPTO”) has awarded hundreds of patents to the University, thereby recognizing the

many discoveries made by its faculty and staff. These patents span numerous fields and

disciplines. Many of these patents are based on groundbreaking research done in the

University’s College of Pharmacy.

The University’s College of Pharmacy

       19. The University’s College of Pharmacy was founded in 1892 and is the only

pharmacy school in Minnesota.

       20. The College of Pharmacy is one of the University’s preeminent colleges.

Since its founding, the College of Pharmacy has been a national leader in education,

practice, and policy. The College of Pharmacy consistently ranks among the top

pharmacy schools in the nation.




                                            -4-
      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 5 of 12




       21. The College of Pharmacy offers Doctor of Pharmacy (Pharm.D.), Doctor of

Philosophy (Ph.D.) and Master of Science (M.S.) programs, and houses some of the

nation’s top researchers and brightest students.

       22. The faculty at the College of Pharmacy number more than 100 full-time

members and hundreds of volunteers.

       23. The College of Pharmacy’s faculty and students conduct research and clinical

activities focused on, inter alia, drug discovery and development, pharmaceutics and

drug delivery, experimental and clinical pharmacology, and cancer therapies.

       24. One of the professors at the University’s College of Pharmacy is Carston R.

Wagner, Ph.D. (“Professor Wagner”), the sole named inventor on the patent at issue.

Professor Wagner

       25. Professor Wagner has been a professor of medicinal chemistry in the College

of Pharmacy since 1991. Since 2010, he has been the Endowed Chair in Medicinal

Chemistry in the University’s College of Pharmacy.

       26. Professor Wagner is a leader in the field of antiviral therapies, and he is a

national and internationally recognized expert in phosphoramidate chemistry. For

example: from 2003-2014, Professor Wagner was an associate editor for the American

Chemical Society’s Molecular Pharmaceutics, and since 2015, he has been an executive

editor for that journal; from 2001 to present, Professor Wagner has been a member of the

International Nucleoside, Nucleotide and Nucleic Acid Society; in 2004, he was a

member of the program committee for the 17th International Round Table on

Nucleosides, Nucleotides, and Nucleic Acids; in 2007, he was the keynote speaker at the

17th International Conference on Phosphorous Chemistry; and in 2015, he served as



                                            -5-
       Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 6 of 12




National Meeting Theme Chair for the 250th American Chemical Society National

Meeting, “Innovation: From Discovery to Application.”

       27. Professor Wagner has been working on phosphoramidate chemistry and

enzymatic activity in cells, to develop antiviral treatments, for more than twenty years.

       28. Professor Wagner has written or co-authored hundreds of published journal

and conference papers, about one third of which relate to phosphoramidate chemistry

and/or enzymatic activity in cells.

       29. Professor Wagner has received numerous industry and academic

achievement awards. In 1980, he was named a Dreyfus Undergraduate Research Scholar

at the University of North Carolina. In 1986, he was named the National Science

Foundation Fellow to the North Atlantic Treaty Organization Advanced Study Institute.

For his research from 1987 to 1990, he was awarded the National Institutes of Health

(“NIH”) National Research Service Award. In 1993, he received the NIH First Award.

In 2002, he received the 3M University Relations Award. In 2012, he received the

University’s College of Pharmacy Excellence in Graduate Education Faculty Award. In

2012, he was named an American Association for the Advancement of Science Fellow.

       30. Professor Wagner has also advised dozens of students, who have gone on to

hold prestigious and influential positions in both academia and industry, and he has been

awarded millions of dollars in sponsored research funding, for example, the grants that

helped support the antiviral therapy research that led to the patent at issue




                                            -6-
      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 7 of 12




       31. Professor Wagner researches and designs therapeutic nucleotide prodrugs

that can be targeted to and activated by diseased tissues. He also investigates and

uncovers the natural functions of proteins, e.g., histidine triad nucleotide-binding proteins

(or “HINTs”), so that knowledge of such functions can be applied to designing antiviral

medications.

The ’830 Patent1

       32. On August 26, 2014, the USPTO duly and lawfully issued the ’830 patent,

entitled “Nucleosides with Antiviral and Anticancer Activity,” to Dr. Carston R. Wagner.

A true and correct copy of the ’830 patent is attached hereto as Exhibit A.

       33. All rights, title, and interest in and to the ’830 patent have been assigned to

the University, which is the sole owner of the ’830 patent.

       34. The ’830 patent is directed to antiviral compounds and methods for using

those compounds to treat viral infections, such as that caused by hepatitis C virus

(“HCV”).

       35. Hepatitis C virus infections are caused by HCV. It is estimated that more

than three million Americans suffer from Hepatitis C virus infections which, over time,

destroy the liver and can lead to fatal complications.

       36. The ’830 patent is the result of Professor Wagner’s research into therapeutic

nucleotide prodrugs and HINTs, including human histidine triad nucleotide-binding

protein 1 (“hHINT1”).



1
  This description of the ’830 patent is intended to provide a generalized explanation of
the patent and technology at issue. It is not intended to be limiting and nothing herein
should be construed as a legal description of the ’830 patent’s metes and bounds.


                                            -7-
       Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 8 of 12




       37. With his discovery of the role of hHINT1 in certain chemical reactions in the

human body and his expertise in nucleotide analogs and prodrug chemistry, Dr. Wagner

was able to invent a genus of compounds that act as antiviral agents and provide sought

after antiviral treatment for, inter alia, HCV infections.

       38. The genus of compounds Professor Wagner invented include compounds

with the structural formula shown below:




wherein R1 can be uracil, R2 is halo (e.g., fluoro), R6 and R7 are independently H or (C1-

C6) alkyl (e.g., methyl), R3 is hydroxyl, R4 can be aryl (e.g., a phenyl radical), R5 is an

amino acid, and X can be oxy.

       39. The importance of Dr. Wagner’s contributions to the design of prodrugs of

nucleotide analogs, as disclosed and claimed in the ’830 patent, was widely recognized

by his peers in the scientific community. Gilead’s sofosbuvir medicines incorporate

these contributions of Dr. Wagner.

Gilead’s Infringing Drugs That Contain Sofosbuvir

       40. Gilead makes and sells medicines, including Sovaldi®, Harvoni®, and

Epclusa®.

       41. Each of Sovaldi®, Harvoni®, and Epclusa® contains sofosbuvir, which is an

antiviral agent against HCV infections.




                                             -8-
       Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 9 of 12




       42. Sofosbuvir has the following structural formula:




       43. Sofosbuvir, whose structural formula is shown in Paragraph 42, is one of the

compounds included in the genus of compounds invented by Professor Wagner and

claimed in the ’830 patent, as shown in Paragraph 38.

       44. Sofosbuvir incorporates important and valuable technical innovations that

Dr. Wagner and the University patented in the ’830 patent.

       45. Gilead has reaped tens of billions of dollars in sales of medicines containing

sofosbuvir, including Sovaldi®, Harvoni®, and Epclusa®, without the University’s

authorization and without compensating the University.

                                       COUNT I
                            (Infringement of the ’830 Patent)

       46. The allegations of the preceding paragraphs are restated and re-alleged as

though fully set forth herein.

       47. Gilead has infringed, and continues to infringe, literally and under the

doctrine of equivalents, at least claims 1-9 and 11-12 of the ’830 patent by making, using,

importing, exporting, offering to sell, and/or selling medicines containing the drug

sofosbuvir, including without limitation Sovaldi®, Harvoni®, and Epclusa®, because the

structural formula of sofosbuvir falls within the scope of those claims.



                                            -9-
      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 10 of 12




       48. Gilead has indirectly infringed, and continues to indirectly infringe, at least

claims 13-21 and 23-28 of the ’830 patent by actively and intentionally inducing others

(including but not limited to doctors and other medical professionals) to administer

medicines containing the drug sofosbuvir which infringes, literally and under the doctrine

of equivalents, claims of the ’830 patent.

       49. Gilead has indirectly infringed, and continues to indirectly infringe, by

contributing to the infringement of at least claims 13-21 and 23-28 of the ’830 patent by

supplying to others (including but not limited to hospitals, doctors, and other medical

professionals) medicines containing the drug sofosbuvir which infringes, literally and

under the doctrine of equivalents, claims of the ’830 patent.

       50. There are no substantial non-infringing uses of the medicines containing

sofosbuvir that Gilead makes and sells.

       51. Gilead knew of the ’830 patent at least as early as June 11, 2015.

       52. On June 11, 2015, Gilead was specifically informed of the ’830 patent by the

University. On July 10, 2015, Gilead was provided actual notice of Gilead’s

infringement of the ’830 patent.

       53. Additionally, in August 2015, the University met in person with Gilead to

discuss Gilead’s infringement of the ’830 patent.

       54. Notwithstanding its knowledge of the ’830 patent, Gilead has continued its

infringing conduct.

       55. Gilead’s infringement of the ’830 patent was and remains willful and

deliberate.




                                             - 10 -
      Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 11 of 12




                                  RELIEF REQUESTED

Plaintiff requests that this Court:

          A.    Enter judgment that Gilead has directly and indirectly infringed the ’830

patent;

          B.    Award the University damages in accordance with 35 U.S.C. § 284,

including all damages adequate to compensate it for Gilead’s infringement, in no event

less than a reasonable royalty, such damages to be determined by a jury, and additionally

an accounting sufficient to adequately compensate the University, and that such damages

be awarded the University, together with interest, including prejudgment and post-

judgment interest, and costs;

          C.    Determine that Gilead has willfully and deliberately committed acts of

patent infringement, and award the University treble damages in light of Gilead’s willful

infringement, pursuant to 35 U.S.C. § 284;

          D.    Determine that this is an “exceptional case” pursuant to 35 U.S.C. § 285

and award the University reasonable legal fees, costs, and expenses that the University

incurs in prosecuting this action;

          E.    Award such other and further relief as the Court deems just and proper.

                                      JURY DEMAND

The University demands a trial by jury of all issues so triable.




                                           - 11 -
     Case 3:17-cv-06056-VC Document 1 Filed 08/29/16 Page 12 of 12




Dated: August 29, 2016

                                     WILLIAM P. DONOHUE (#0023589)
                                     General Counsel
                                     University of Minnesota

                               By:   s/ Brian J. Slovut
                                     Brian J. Slovut (#236846)
                                     Senior Associate General Counsel
                                     slov0002@umn.edu
                                     360 McNamara Alumni Center
                                     200 Oak Street S.E.
                                     Minneapolis, Minnesota 55455
                                     (612) 624.4100 Phone
                                     (612) 626-9624 FAX

OF COUNSEL:                          Ken Liebman (#236731)
Michael A. Albert                    ken.liebman@FaegreBD.com
malbert@wolfgreenfield.com           Timothy E. Grimsrud (#034283X)
Edward R. Gates                      tim.grimsrud@FaegreBD.com
egates@wolfgreenfield.com            FAEGRE BAKER DANIELS LLP
Gerald B. Hrycyszyn                  2200 Wells Fargo Center
ghrycyszyn@wolfgreenfield.com        90 S. Seventh Street
Christopher W. Henry                 Minneapolis, Minnesota 55402
chenry@wolfgreenfield.com            (612) 766-7000 Phone
WOLF, GREENFIELD & SACKS, P.C.       (612) 766-1600 FAX
600 Atlantic Avenue
Boston, Massachusetts 02210
(617) 646-8000 Phone                 Attorneys for Plaintiff Regents of the
(617) 646-8646 FAX                   University of Minnesota




                                 - 12 -
